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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DOMINIQUE SHAW,

            Plaintiff,                                                11030
                                                            No. 19 CV _______

                    vs.
                                                            COMPLAINT
REQUISITE BOOTIE, INC. d/b/a
  LUCIEN FRENCH BISTRO;
                                                            Jury Trial Demanded
ZAC BAHAJ; and

JANE DOE as personal representative
of the ESTATE OF LUCIEN BAHAJ;

            Defendants.


       Plaintiff Dominique Shaw, by her undersigned counsel, as against Defendants Requisite

Bootie, Inc. d/b/a Lucien French Bistro (“Lucien French Bistro”); Zac Bahaj; and Jane Doe,

natural person whose identity is as yet unknown to Plaintiff, sued here in his or her capacity as

personal representative of the Estate of Lucien Bahaj, hereby alleges as follows:

                                     PRELIMINARY STATEMENT

       1.         Plaintiff Dominique Shaw is a black transgender woman and a professional

restaurant worker without blemish on her record. Plaintiff’s pronouns are she and her.

       2.         While Plaintiff was employed as a host at Lucien French Bistro, an upscale

Manhattan restaurant, Defendants unlawfully discriminated against Plaintiff on the basis of her sex,

sexual orientation, gender identity, gender expression, sexual orientation, color, and race.

       3.         By this action, Plaintiff requests that the Court enforce rights protected by federal,

state, and local law. Title VII of the Civil Rights Act (“Title VII”); the New York State Human

Rights Law (“NYSHRL”); and the New York City Human Rights Law (“NYCHRL”) all prohibit

unlawful discrimination, including the acts complained of herein.
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                                   JURISDICTION AND VENUE

        4.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 as this

action involves federal questions regarding the deprivation of Plaintiff’s rights under Title VII.

        5.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 (b)(1) and (2) because

Defendant Lucien French Bistro’s principal place of business is located in this district and because a

substantial part of the events or omissions giving rise to this action, including discriminatory acts at

Plaintiff’s place of employment, occurred in this district.

                                ADMINISTRATIVE PROCEDURES

        6.      The U.S. Equal Employment Opportunity Commission issued to Plaintiff a Notice

of Right to Sue in EEOC Charge No. 520-2019-04799. Plaintiff received the Notice of Right to Sue

by First Class Mail on October 6, 2019.

                                               PARTIES

        7.      Plaintiff is a black transgender woman who resides in New York County.

        8.      At all times relevant to this Complaint, Plaintiff was an employee of Defendants.

        9.      Plaintiff uses the pronouns she and her.

        10.     Plaintiff’s natural hair is black and has a tightly-coiled natural texture common

among people of African descent.

        11.     Defendant Lucien French Bistro is a domestic corporation organized under the laws

of the State of New York with its principal place of business at 14 First Avenue in Manhattan.

        12.     Defendant Lucien French Bistro operates a French restaurant at 14 First Avenue in

Manhattan.

        13.     At all relevant times, Lucien Bahaj and Defendant Zac Bahaj held themselves out as

owners of Lucien French Bistro.




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          14.   Lucien Bahaj and Defendant Zac Bahaj had and have managerial and/or

supervisory authority over Plaintiff and other employees during the period of Plaintiff’s employment

at Lucien French Bistro.

          15.   On information and belief, Lucien Bahaj died on or about July 29, 2019.

          16.   On information and belief, Defendant Jane Doe, a natural person whose identity is

unknown to Plaintiff despite reasonable investigation to date, has been or will be appointed as legal

representative of the Estate of Lucien Bahaj.

                                    FACTUAL ALLEGATIONS

A.        DEFENDANTS HIRED PLAINTIFF TO WORK

          17.   In or about April 2016, Plaintiff applied for a position as a host at Lucien French

Bistro.

          18.   In or about April 2016, Lucien Bahaj hired Plaintiff.

          19.   Shortly after he hired Plaintiff, Lucien Bahaj asked Plaintiff about her sexual

orientation. Plaintiff reluctantly told him. Lucien Bahaj, apparently of the opinion that Plaintiff’s

sexual orientation would be offensive to customers, told Plaintiff to “keep it a mystery.”

          20.   Based on Plaintiff’s observation, Lucien Bahaj preferred to hire hosts who have a

“cool” or “sexy” look.

          21.   Lucien Bahaj, Zac Bahaj and other managers at Lucien French Bistro strove to

cultivate a “cool” and “sexy” atmosphere at the restaurant. They did this by (among other things)

fostering a culture where cisgendered male and female employees were permitted and encouraged to

wear revealing clothing at work.

          22.   Lucien French Bistro is a downtown restaurant that aims to attract an affluent

crowd, including models, celebrities and fashionistas.

          23.   Defendants intentionally created a sexually-charged, hostile workplace.




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B.      PLAINTIFF’S SEX, GENDER, GENDER IDENTITY AND GENDER EXPRESSION

        24.     In or about April 2016, when Lucien Bahaj hired Plaintiff, Plaintiff identified as a

male. She wore clothing typically associated with cisgendered men; she used male pronouns (he and

him); and she expressed her gender and gender identity in a (conventionally) male way.

        25.     Beginning in December 2016 and early 2017, while still employed at Lucien French

Bistro, Plaintiff began to identify and to express her gender differently. She became more

comfortable expressing herself naturally. For instance, she began to dress in more (conventionally)

feminine clothing; she began to wear high heels, long fingernails, and a wig.

        26.     In or around Summer 2017, Plaintiff adopted female pronouns and a female gender

identity.

        27.     Defendants did not like and did not accept Plaintiff’s self-expression. They criticized

and discriminated against her just for being who she is while working.

C.      EXAMPLES OF DEFENDANTS’ DISCRIMINATORY CONDUCT

        28.     Requisite Bootie, Inc., by its policies and its work environment – and Lucien Bahaj

and Zac Bahaj, by their words and actions – let Plaintiff know that her race, sex, and gender were

unacceptable at Lucien French Bistro.

        29.     For example, in or about November 2016, early in Plaintiff’s employment at Lucien

French Bistro, she was wearing shoes with a three-inch heel. Lucien Bahaj saw Plaintiff’s shoes and

shouted, “Be a man!” Plaintiff was shocked and insulted. She was left with the impression that

Lucien Bahaj rejected her gender expression, her gendered, and what he perceived as her sexual

orientation.

        30.     In or about June 2017, Plaintiff wore a midriff-baring tank top to work. Zac Bahaj

stopped Plaintiff in front of other employees and asked her, “Are you going to put on a shirt?”

Plaintiff was speechless at being singled out in front of a crowd of people. Plaintiff was also

embarrassed because other (cisgendered) female employees frequently wear revealing clothing like


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the tank top she had on. Plaintiff did not know how to respond, and as she began to stammer an

explanation, Zac Bahaj yelled, “I don’t give a fuck. Put on a shirt!” at her. Plaintiff was humiliated.

She had to borrow a heavy hoodie sweatshirt from a coworker and put it on even though the

temperature in the restaurant was sweltering.

        31.     In or about January 2017, Plaintiff wore a wig to work for the first time. The wig was

shoulder-length black hair. Plaintiff wore it pulled back in a ponytail. When Lucien Bahaj saw

Plaintiff wearing the wig, he sent a senior employee named Christina over to talk to Plaintiff about

it. Within earshot of Lucien and other employees, Christina told Plaintiff: “Lucien says you look

like a freak.” Lucien insisted that Plaintiff take off her wig immediately. Plaintiff was deeply

embarrassed; she called a friend and had him meet her inside a nearby church so she could change

back into her natural hair in private. Plaintiff had to work the rest of that night without her hair.

        32.     Ironically – given Respondents’ hostility towards Plaintiff’s wig – Lucien Bahaj and

Zac Bahaj were also openly hostile to her natural black hair. Plaintiff (and other women of color

employed at Lucien French Bistro) were not allowed to wear their hair naturally, in puffy or “afro”

styles; they were always made to style it differently or to tie it up. If they didn’t, they risked losing

their shifts. Non-black girls with long straight hair were allowed to wear their hair down: not

Plaintiff, and not other women of color.

        33.     On a very hot day in or about July of 2017, Plaintiff wore an oversized tee shirt over

short shorts: the type of stylish and revealing outfit that cisgendered female employees were

encouraged to wear at Lucien French Bistro. Zac Bahaj pulled Plaintiff aside and told Plaintiff that

she looked like she was “dressed to go to the beach.” Even though Plaintiff complained that other

girls were dressed the same way she was, Zac Bahaj told her to leave the restaurant because of her

clothing. Zac Bahaj took away Plaintiff’s shift and changed the schedule so that she worked fewer

hours than requested and originally planned.




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        34.     Shortly after being sent home for wearing shorts, Plaintiff asked Zac Bahaj about the

dress code at Lucien French Bistro. Zac told Plaintiff that there was no dress code; Plaintiff just

couldn’t dress how she was dressed.

        35.     In or about November 2018, Plaintiff wore a wig to work again. Lucien saw

Plaintiff’s hair and immediately flew into a rage. Plaintiff remembers him screaming: “You’re NOT

working like this. You think you can sneak by me? We already discussed the wig! I’m not going to

lose customers over your wig!” His tirade was so outrageous, and so disruptive, that one of the

regular patrons in the restaurant intervened on Plaintiff’s behalf, telling Lucien Bahaj that Plaintiff

ought to be allowed to wear her hair, and reminding Lucien Bahaj of Plaintiff’s preferred pronouns.

But Lucien Bahaj would not have it. He told Plaintiff that Lucien French Bistro didn’t need a host

that night, and that Plaintiff should leave the restaurant. He threw Plaintiff out.

                                    FIRST CAUSE OF ACTION
                            (Discrimination in Violation of Federal Law)

        36.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

        37.     By the actions described above, among others, Defendants discriminated against

Plaintiff on the basis of sex, sexual orientation, gender identity, gender expression, sexual

orientation, color, and race in violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42

U.S.C. §§ 2000e et seq. (as amended) by denying Plaintiff the same terms and conditions of

employment available to similarly-situated actual or perceived white, non-black, heterosexual,

cisgendered, male and female employees while subjecting Plaintiff to disparate treatment, including

reduced hours and offensive comments, and by constructively terminating Plaintiff’s employment.

        38.     As a direct and proximate result of Defendants’ unlawful conduct in violation of

Title VII, Plaintiff has suffered, and continues to suffer, harm for which she is entitled to an award of

damages to the greatest extent permitted by law, including but not limited to monetary and/or

economic harm.

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        39.     As a direct and proximate result of Defendants’ unlawful and discriminatory conduct

in violation of Title VII, Plaintiff has suffered and continues to suffer mental anguish and emotional

distress, for which she is entitled to an award of compensatory damages.

        40.     Defendants’ unlawful and discriminatory actions constitute malicious, willful,

wanton and/or reckless indifference to Plaintiff’s protected rights under Title VII, for which Plaintiff

is entitled to an award of punitive damages.

        41.     Plaintiff is also entitled to an award of attorneys’ fees and costs.

                                  SECOND CAUSE OF ACTION
                             (Discrimination in Violation of State Law)

        42.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

        43.     By the actions described above, among others, Defendants have retaliated against

Plaintiff in violation of the New York State Human Rights Law (“NYSHRL”), N.Y. Exec. Law

§§ 290 et seq. by, inter alia, denying Plaintiff the same terms and conditions of employment available

to similarly-situated female employees, including, but not limited to, subjecting Plaintiff to disparate

treatment, including disparate assignments and sexist comments, and terminating Plaintiff’s

employment.

        44.     As a direct and proximate result of Defendants’ unlawful conduct in violation of the

NYSHRL, Plaintiff has suffered, and continues to suffer, harm for which she is entitled to an award

of damages to the greatest extent permitted by law, including but not limited to monetary and/or

economic harm.

        45.     As a direct and proximate result of Defendants’ unlawful and discriminatory conduct

in violation of the NYSHRL, Plaintiff has suffered and continues to suffer mental anguish and

emotional distress, for which she is entitled to an award of compensatory damages.




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        46.     Defendants’ unlawful and discriminatory actions constitute malicious, willful,

wanton and/or reckless indifference to Plaintiff’s protected rights under the NYSHRL, for which

Plaintiff is entitled to an award of punitive damages.

        47.     Plaintiff is also entitled to an award of attorneys’ fees and costs.

                                   THIRD CAUSE OF ACTION
                             (Discrimination in Violation of Local Law)

        48.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

        49.     By the actions described above, among others, Defendants have retaliated against

Plaintiff in violation of the New York City Human Rights Law (“NYCHRL”), Title 8 of the

Administrative Code of the City of New York, denying Plaintiff the same terms and conditions of

employment available to similarly-situated female employees, including, but not limited to,

subjecting Plaintiff to disparate treatment, including disparate assignments and sexist comments, and

terminating Plaintiff’s employment.

        50.     As a direct and proximate result of Defendants’ unlawful conduct in violation of the

NYCHRL, Plaintiff has suffered, and continues to suffer, harm for which she is entitled to an award

of damages to the greatest extent permitted by law, including but not limited to monetary and/or

economic harm.

        51.     As a direct and proximate result of Defendants’ unlawful and discriminatory conduct

in violation of the NYCHRL. Plaintiff has suffered and continues to suffer mental anguish and

emotional distress, for which she is entitled to an award of compensatory damages.

        52.     Defendants’ unlawful and discriminatory actions constitute malicious, willful,

wanton and/or reckless indifference to Plaintiff’s protected rights under the NYCHRL for which

Plaintiff is entitled to an award of punitive damages.

        53.     Plaintiff is also entitled to an award of attorneys’ fees and costs.



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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment in favor of Plaintiff and

against Defendants, containing the following relief:

       A.      An injunction and order permanently restraining Defendants and their partners,
               officers, owners, agents, successors, employees and/or representatives and any and
               all persons acting in concert with them, from engaging in any such further unlawful
               conduct, including the policies and practices complained of herein;

       B.      An order directing Defendants to place Plaintiff in the position she should have
               occupied but for Defendants’ discriminatory and retaliatory treatment and otherwise
               unlawful conduct (including reinstatement), and to take such affirmative action as is
               necessary to ensure that the effects of these unlawful employment practices are
               eliminated and do not continue to affect Plaintiff;

       C.      A declaratory judgment that the actions, conduct and practices of Defendants
               complained of herein violated the laws of the United States and of the State and City
               of New York;

       D.      An award of damages in an amount to be determined at trial, plus pre-judgment
               interest, to compensate Plaintiff for all monetary and/or economic damages;

       E.      An award of damages in an amount to be determined at trial, plus pre-judgment
               interest, to compensate Plaintiff for all non-monetary and/or compensatory
               damages, including but not limited to compensation for mental anguish and
               emotional distress, emotional pain and suffering, and any other physical or mental
               injuries;

       F.      An award of damages to be determined at trial, plus pre-judgment interest, to
               compensate Plaintiff for harm to her professional and personal reputation and loss of
               career fulfillment;

       G.      An award of punitive damages;

       H.      An award of costs that Plaintiff has incurred in this action, as well as reasonable
               attorneys’ fees to the fullest extent permitted by law; and

       I.      Such other and further relief as the Court may deem just and proper.


                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.




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Dated:         December 2, 2019
               New York, New York

                                          MULLEN P.C.

                                          _______________________
                                    By:   Wesley M. Mullen, Esq.     (WM1212)
                                          200 Park Avenue Suite 1700
                                          New York, NY 10166
                                          (646) 632-3718
                                          wmullen@mullenpc.com

                                          Counsel for Plaintiff




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